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 Information to identify the case:
 Debtor
                   CFRA Holdings, LLC                                                          EIN 27−0273305
                   Name


 United States Bankruptcy Court Middle District of Florida
                                                                                               Date case filed for chapter 11 5/6/20
 Case number: 8:20−bk−03608−CPM


Official Form 309F1 (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                                                                   02/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.



  1. Debtor's full name                       CFRA Holdings, LLC


  2. All other names used in the fka CFRA Restaurant Holdings, Inc.
     last 8 years


  3. Address                                  1340 Hamlet Avenue
                                              Clearwater, FL 33756

                                              Carmen D Contreras−Martinez                               Contact phone 305−428−4528
  4. Debtor's attorney                        Saul Ewing Arnstein & Lehr LLP
      Name and address                        701 Brickell Avenue, Suite 1700                           Email: carmen.contreras−martinez@saul.com
                                              Miami, FL 33131

  5. Bankruptcy clerk's office                                                                                Hours open:
      Documents in this case may be filed                                                                     Monday − Friday 8:30 AM − 4:00PM
      at this address.
                                               Sam M. Gibbons United States Courthouse
      You may inspect all records filed in     801 North Florida Avenue, Suite 555                            Contact phone 813−301−5162
      this case at this office or online at    Tampa, FL 33602
      www.pacer.gov.
                                                                                                              Date: May 7, 2020

  6. Meeting of creditors                     June 5, 2020 at 01:00 PM
      The debtor's representative must
      attend the meeting to be questioned     The meeting may be continued or adjourned to Meeting will be held telephonically by
      under oath.
      Creditors may attend, but are not       a later date. If so, the date will be on the court the U.S. Trustee's Office.
      required to do so. You are reminded     docket.                                             For Tampa and Ft. Myers cases Call
      that Local Rule 5073−1 restricts the                                                        in number: 866−910−0293, Passcode:
      entry of personal electronic devices      *** Debtor must provide a Photo ID and acceptable 7560574.
      into the Courthouse.                     proof of Social Security Number to the Trustee in the
                                                        manner directed by the Trustee. ***

                                                                                                           For more information, see page 2 >


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Debtor CFRA Holdings, LLC                                                                                         Case number 8:20−bk−03608−CPM


  7. Proof of claim deadline                 Deadline for filing proof of claim: July 15, 2020

                                             For a governmental unit: 180 days from the date of filing
                                             A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be filed
                                             online at the Court's website at www.flmb.uscourts.gov, or obtained at www.uscourts.gov or at any
                                             bankruptcy clerk's office.

                                             Your claim will be allowed in the amount scheduled unless:

                                                      • your claim is designated as disputed, contingent, or unliquidated;
                                                      • you file a proof of claim in a different amount; or
                                                      • you receive another notice.
                                             If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                             must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                             You may file a proof of claim even if your claim is scheduled.

                                             You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.

                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                             proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                             explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                             rights, including the right to a jury trial.


  8. Exception to discharge                   If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                                 proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk's office must
      receive a complaint and any
      required filing fee by the following    Deadline for filing the complaint: No later than the first date set for the hearing on
      deadline.                               confirmation.

                                              If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                              have any questions about your rights in this case.


                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                             trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                             business.


                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                             debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  11. Discharge of debts                     debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                             discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                             paying the filing fee in the bankruptcy clerk's office by the deadline.


                                             McVCIS provides basic case information concerning deadlines such as case opening and closing date,
  12. Voice Case Info. System
      (McVCIS)
                                             discharge date and whether a case has assets or not. McVCIS is accessible 24 hours a day except when
                                             routine maintenance is performed. To access McVCIS toll free call 1−866−222−8029.




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